                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF.NORTH CAROLINA
                                WESTERN DMSION
                                  No. 5:21-CR-232-D
                                  No. 5:24-CV-344-D


TRAQUAN JENKINS,                             )
                                             )
                           Petitioner,       )
                                             )
                 v.                          )               ORDER
                                             )
UNITED STATES OF AMERICA,                    )
                                             )
                           Respondent.       )


       The United States shall file a response to petitioner's motion under 28 U.S.C. § 2255 [D.E.

66]. The response is due not later than August 9, 2024.

       SO ORDERED. This ..LL day of July, 2024.




                                                      ~SC.DEVERfil
                                                      United States District Judge




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